                Case 2:19-cv-01488-MJP Document 39 Filed 11/05/20 Page 1 of 1



 1                                                   HONORABLE MARSHA J. PECHMAN
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 7
                              IN THE UNITED STATES DISTRICT COURT
 8                          FOR THE WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 9

10   SCOTT KINGSTON,                                  No. 2:19-cv-01488-MJP
11                                Plaintiff,
                                                      ORDER GRANTING JOINT MOTION TO
12            v.                                      EXTEND DISCOVERY DEADLINE AND
13                                                    DEADLINE FOR DISPOSITIVE MOTIONS
     INTERNATIONAL BUSINESS MACHINES
14   CORPORATION, a New York Corporation,             NOTE ON MOTION CALENDER:
                                  Defendant.          November 2, 2020
15

16
              THIS MATTER having come before the Court on the Parties’ Joint Motion to Extend
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     Discovery Deadline and Deadline for Dispositive Motions, and good cause appearing, IT IS
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     HEREBY ORDERED THAT the discovery deadline in this matter is extended until November
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     13, 2020 and the deadline for filing dispositive motions is extended until December 14, 2020.
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              SO ORDERED this 5th day of November, 2020.
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25                                                       A
                                                         Marsha J. Pechman
26
                                                         United States District Judge
27   4828-9501-8960, v. 1

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     ORDER GRANTING JOINT MOTION TO EXTEND DISCOVERY                           Jackson Lewis P.C.
     DEADLINE AND DEADLINE FOR DISPOSITIVE MOTIONS - 1                      520 Pike Street, Suite 2300
                                                                            Seattle, Washington 98101
     (CASE NO. 2:19-cv-01488-MJP)                                                 (206) 405-0404
